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                       IN THE UNITED STATED DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA                            )
                                                    )
         Petitioner,                                )
                                                    )
         v.                                         ) Civil Case No. 25-mc-00013 (MAJ-GLS)
                                                    )
YAIRANISSE RIVERA-LOPEZ,                            )
                                                    )
        Respondent.                                 )



                          AMENDED RESPONSE TO PETITION

      Respondent, Yairanisse Rivera-Lopez, respectfully submits this response to the Petition to

Enforce Internal Revenue Service Summons.

      In response to the Petition, Respondent states:

   1. Admits.

   2. Denies for lack of sufficient knowledge or information.

   3. Admits.

   4. Upon information and belief, admits.

   5. Denies for lack of sufficient knowledge or information.

   6. As to the first sentence, denies for lack of sufficient knowledge or information. As to the

      second sentence, admits that she received a copy of a summons on or about June 13,

      2024.

   7. Admits that she appeared on July 11, 2024. For her response to allegations about her

      statements during the interview, Respondent states that during the summons interview she

      answered approximately 19 questions, specifically asserted her Fifth Amendment rights
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   as to approximately 67 questions, specifically asserted her Fifth Amendment rights and

   concerns about compliance with a Non-Disclosure Agreement as to two questions, and

   declined to answer one question on separate grounds. Respondent denies all allegations

   of this paragraph except as specifically admitted herein.

8. Paragraph 8 states conclusions of law to which a response is not required. To the extent a

   response is required, Respondent denies that the cases cited in this paragraph support

   Petitioner’s position in this matter. Respondent specifically denies that she made a

   blanket Fifth Amendment objection to the summons herein and states that the allegations

   of Paragraph 7 on their face refute that allegation. On the contrary, Respondent appeared

   and claimed the privilege on a question-by-question basis.

9. Paragraph 9 states conclusions of law to which a response is not required. Further

   answering, Respondent specifically denies the allegations set forth in the second sentence

   of paragraph 9. Further answering, Respondent states that there is a reasonable

   possibility that her answers to the questions could expose her to prosecution, because (a)

   it is not uncommon for the IRS examination division to refer a promoter investigation for

   criminal investigation; (b) the IRS has publicly identified Puerto Rico Act 20 and 22

   (now Act 60) as a priority for civil and criminal enforcement; (c) the Petition itself uses

   the terms “false,” “fraudulent” and “abusive tax shelter” (Petition at ¶ 4), and (d)

   Respondent was employed by entities which Petitioner has alleged may have participated

   in fraudulent or false transactions.

10. Paragraph 10 states conclusions of law to which a response is not required. To the extent

   a response is required, Respondent states that the case cited in this paragraph does not

   support Petitioner’s position in this matter and does not apply to the facts of this case.


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   Respondent specifically denies that the case cited in this paragraph articulates the

   applicable legal standard in the First Circuit. Respondent specifically denies the last

   sentence of this paragraph and states there is a reasonable possibility that her answers to

   the questions could expose her to prosecution, because (a) it is not uncommon for the IRS

   examination division to refer a promoter investigation for criminal investigation; (b) the

   IRS has publicly identified Puerto Rico Act 20 and 22 (now Act 60) as a priority for civil

   and criminal enforcement; (c) the Petition itself uses the terms “false,” “fraudulent” and

   “abusive tax shelter” (Petition at ¶ 4), and (d) Respondent was employed by entities

   which Petitioner has alleged may have participated in fraudulent or false transactions.

11. Paragraph 11 states conclusions of law to which a response is not required. To the extent

   a response is required, Respondent incorporates by reference herein her response to

   paragraph 10, above, except to recognize that the Allee case (along with all subsequent

   First Circuit caselaw) is applicable to this matter. Further answering, Respondent denies

   that she asserted a “blanket claim of self-incrimination.”

12. Denies the allegation that “answers to the questions” were not provided. Denies the

   allegation of the second sentence of this paragraph for lack of sufficient knowledge or

   information.

13. Denies for lack of sufficient knowledge or information.

14. Denies for lack of sufficient knowledge or information.



                                       DEFENSES

15. The summons improperly seeks to compel Respondent to give testimony in violation of

   her Fifth Amendment privilege against self-incrimination. Respondent appeared for the


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   summons interview and properly asserted her Fifth Amendment privilege against self-

   incrimination with respect to specific questions posed by Revenue Agent Lane. See

   United States v. Allee, 888 F.2d 208, 212-13 (1st Cir. 1989) (recipient of a summons

   properly must appear before the IRS agent and claim the privilege on a question-by-

   question and document-by-document basis).

16. The Petition in this case fails to identify the specific questions as to which Petitioner

   believes Respondent improperly refused to answer and as to which Petitioner would like

   the Court to order Respondent to answer. Accordingly, the Petition fails to allege facts

   upon which this Court can grant relief and must be dismissed. On March 4, 2025,

   Petitioner filed herein a Supplemental Declaration of IRS Revenue Agent Jean A. Lane

   (Doc. 20). The Declaration stated that it had attached thereto “the IRS Memorandum of

   Interview containing questions posed by the IRS and the answers made by Respondent,”

   and the Declaration was in fact accompanied by a Memorandum of Interview (Doc. 20-1)

   listing certain questions. However, nothing contained within the Petition itself –

   including the Petition’s prayer for relief – identifies the questions that Petitioner is asking

   the Court to order Respondent to answer, leaving Respondent and the Court to speculate

   as to the questions as to which Petitioner seeks relief herein.

17. Enforcement of the summons would be an abuse of this Court’s process.

18. Petitioner has available to it an alternative procedure for obtaining the testimony it

   desires without violating Respondent’s Fifth Amendment rights, and Respondent has,

   through her counsel, offered to cooperate with Petitioner in utilizing this procedure.

   Specifically, Petitioner may obtain an immunity order pursuant to 18 U.S.C. § 6004. The




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          IRS, however, has informed Respondent of its refusal to attempt to avail itself of that

          alternative.

   19. This Court should award Respondent, pursuant to 26 U.S.C. § 7430, a judgment for

          reasonable litigation costs incurred herein because Petitioner’s position herein is not

          substantially justified.

   20. Respondent submits as Exhibit A hereto and incorporates herein by reference the

          Declaration of Michelle Schwerin, dated February 17, 2025.



          WHEREFORE, Respondent respectfully requests that that the Court dismiss the Petition

and deny Petitioner’s request for relief because Respondent has already satisfied her obligations

under the Summons, Petitioner has failed to specifically identify the questions for which the IRS

seeks responses, and Respondent has properly asserted her Fifth Amendment rights under the

United States Constitution; that the Court deny Petitioner’s request for an award of costs incurred

in maintaining this action; that the Court award to Respondent a judgment pursuant to 26 U.S.C.

§ 7430 for her litigation costs incurred herein; and grant such other relief as is it deems just and

proper.

          ALTERNATIVELY, Respondent requests that this Court, if it deems it necessary after the

presentation of written evidence and argument as to the Fifth Amendment Privilege, provide

Respondent with an ex parte, in camera hearing on these issues; that the Court deny Petitioner’s

request for an award of costs incurred in maintaining this action; that the Court award to

Respondent a judgment pursuant to 26 U.S.C. § 7430 for her litigation costs incurred herein; and

grant such other relief as it deems just and proper




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Date: March 5, 2025

                                       Respectfully submitted,



                                       NEILL SCHWERIN BOXERMAN, P.C.

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